                        CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 1 of 7
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

UNITED STATES OF AMERICA                                                    §     JUDGMENT IN A CRIMINAL CASE
                                                                            §
v.                                                                          §
                                                                            §     Case Number: 0:15-CR-00054-PJS-HB(2)
IGOR VOROTINOV                                                              §     USM Number: 21704-041
                                                                            §     Allan H Caplan
                                                                            §     Defendant’s Attorney

THE DEFENDANT:
☒ pleaded guilty to count 1
☐ pleaded nolo contendere to count(s) which was accepted by the court
☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                      Offense Ended       Count
18:1341 MAIL FRAUD                                                                                       03/23/2012          1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     July 29, 2019
                                                                     Date of Imposition of Judgment




                                                                     s/Patrick J. Schiltz
                                                                     Signature of Judge

                                                                     PATRICK J. SCHILTZ
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     July 29, 2019
                                                                     Date




                                                                       1
                       CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 2 of 7

AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    IGOR VOROTINOV
CASE NUMBER:                  0:15-CR-00054-PJS-HB(2)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

41 months.

☒ The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be incarcerated in or near Minnesota.



☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           on

          ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before                         on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
                       CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 3 of 7
AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    IGOR VOROTINOV
CASE NUMBER:                  0:15-CR-00054-PJS-HB(2)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : three (3) years.



                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
 4. ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7. ☐ You must participate in an approved program for domestic violence. (check if applicable)
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.




                                                                   3
                       CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 4 of 7
AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    IGOR VOROTINOV
CASE NUMBER:                  0:15-CR-00054-PJS-HB(2)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




                                                                      4
                       CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 5 of 7
AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    IGOR VOROTINOV
CASE NUMBER:                  0:15-CR-00054-PJS-HB(2)

                                     SPECIAL CONDITIONS OF SUPERVISION


     1. You must comply with the mandatory and standard conditions of supervised release described in §
        5D1.3 of the version of the United States Sentencing Guidelines that took effect on November 1, 2018,
        except that the mandatory drug testing described in § 5D1.3(a)(4) is suspended based on my finding that
        you pose a low risk of future substance abuse.

     2. You must pay restitution in accordance with the Schedule of Payments sheet of the Judgment.

     3. You must promptly notify the probation officer of any material change in your financial circumstances
        that might affect your ability to pay restitution.

     4. You must give the probation officer access to any requested financial information, including credit
        reports, credit-card bills, bank statements, investment-account statements, property records, telephone
        bills, and utility bills.

     5. You must not incur new credit charges or open additional lines of credit without the prior approval of
        the probation officer.

     6. You must allow a probation officer or someone designated and supervised by the probation officer to
        search your person, residence, office, vehicle, or any area under your control. The search must be based
        on reasonable suspicion of contraband or evidence of a supervision violation, and it must be conducted
        at a reasonable time and in a reasonable manner. You must warn any other residents or affected third
        parties that your residence, office, vehicle, and areas under your control may be subject to searches
        under the conditions I have just described.

     7. If you do not maintain full-time, lawful employment as deemed appropriate by the probation officer, you
        may be required to do community-service work for up to 20 hours per week until you become employed.
        You may also be required to participate in training, counseling, or daily job searching as directed by the
        probation officer.

The probation office is directed to furnish to you a written statement of all of the conditions of your supervised
release.




                                                         5
CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 6 of 7
                       CASE 0:15-cr-00054-PJS-HB Doc. 170 Filed 07/29/19 Page 7 of 7
AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    IGOR VOROTINOV
CASE NUMBER:                  0:15-CR-00054-PJS-HB(2)
                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A    ☒ Lump sum payments of $ $2,048,414.09 due immediately, balance due

      ☐ not later than                                          , or

      ☒ in accordance                     ☐       C,          ☐        D,       ☐       E, or        ☒      F below; or

B     ☐ Payment to begin immediately (may be combined with                      ☐       C,           ☐      D, or              ☐       F below); or

C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                  (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                over a period of
                                (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment
             to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release
           from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
           time; or
F    ☒ Special instructions regarding the payment of criminal monetary penalties:
           It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
           shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. While you are
           incarcerated, you must make payments toward your restitution obligation as follows: If you are working UNICOR,
           you must make monthly payments of 50 percent of your earnings. If you are not working UNICOR, you must make
           quarterly payments of $25. After you are released from prison, you must begin making payments toward any
           remaining restitution obligation within 30 days of your release. You must make monthly payments of at least $500.
           If the probation officer determines that you are able to pay more than $500 per month, then you must make
           restitution payments in the amount directed by the probation officer. Your payments should be made to the Clerk
           of U.S. District Court for the District of Minnesota, who will forward your payments to the victim. Your obligation
           to pay the full amount of restitution continues even after your term of supervised release has ended. If you are
           unable to pay the full amount of restitution at the time your supervised release ends, you may work with the U.S.
           Attorney’s Office Financial Litigation Unit to arrange a restitution payment plan.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☒ Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
      Several Amount, and corresponding payee, if appropriate: Restitution of $2,048,414.09, jointly and severally with co-
      defendant Alkon Raymond Vorotinov (0:15-cr-00047-1) and Irina Vorotinov (0:15-cr-00054-1).

☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):

☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.


                                                                            7
